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6
     Attorneys for Shasta County Sheriff’s Department
7

8
                                      UNITED STATES DISTRICT COURT
9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                             )   CASE NO.: 2:09-CR-00094 MCE
12                                                         )
                                 Plaintiff,                )   REQUEST FOR APPEARANCE BY
13                                                         )   TELEPHONE AND PROPOSED ORDER
           v.                                              )
14                                                         )   DATE: January 7, 2010
     FRANCISCO JAVIER VELASCO,                             )   TIME: 9:00 A.M.
15                                                         )
                                 Defendant.                )
16                                                         )
17
              I, DAVID M. YORTON, JR., Senior Deputy County Counsel, representing the Shasta County
18
     Sheriff’s Department, hereby request to appear in the above-referenced matter by telephone.
19
     Dated:
20
                                                     /s/ David M. Yorton, Jr.
21
                                                     DAVID M. YORTON, JR.,
22                                                   Senior Deputy County Counsel

23
              IT IS HEREBY ORDERED:
24
              Request for the above attorney to appear by telephone is granted.
25

26   Dated: January 6, 2010

27                                               __________________________________
                                                 MORRISON C. ENGLAND, JR
28
                                                 UNITED STATES DISTRICT JUDGE



     ____________________________________________________________________________________________________________
                               REQUEST FOR APPEARANCE BY TELEPHONE
